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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 GRADILLAS COURT REPORTERS, INC.,

                        Plaintiff,
                                                    Civil Action No. 17-1164 (BAH)
                        v.
                                                    Judge Beryl A. Howell
 CHERRY BEKAERT, LLP, et al.,

                        Defendants.

                                             ORDER

        Upon consideration of the defendants’ [11] Motion to Dismiss for Improper Venue

pursuant Rule 12(b)(3), Motion to Dismiss for Lack of Jurisdiction pursuant to Rule 12(b)(2),

and Motion to Transfer Case to the United States District Court for the Eastern District of

Virginia pursuant to 28 U.S.C. §§ 1406(a), 1404(a); the related legal memoranda in support and

opposition; and the entire record herein; for the reasons set forth at the October 6, 2017 hearing,

it is hereby

        ORDERED that the case shall be TRANSFERRED to the United States District Court

for the Eastern District of Virginia.

        SO ORDERED.

        Date: October 6, 2017.

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                                                      BERYL A. HOWELL
                                                      United States District Judge
